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                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION


UNITED STATES OF AMERICA                      )
                                              )
               v.                             )             CAUSE NO. 3:13cr00056 JD
                                              )
REBECCA TURNER                                )

                            FINDINGS AND RECOMMENDATION
                               OF THE MAGISTRATE JUDGE
                                UPON A PLEA OF GUILTY


       On June 17, 2013, the Honorable Jon E. DeGuilio, District Judge, referred this case to the

undersigned to make findings as to whether the defendant (1) is competent to enter a plea; (2)

knowingly and voluntarily wishes to enter a plea to the charge(s); (3) understands the charge(s);

(4) whether there exists a factual basis for the charge(s); and a recommendation as to whether a

plea of guilty should be accepted by the United States District Court Judge. On June 21, 2013, a

hearing was held on the defendant’s request to enter a plea of guilty. Appearing for the United

States was Assistant United States Frank E. Schaffer. Appearing for the defendant was H. Jay

Stevens; the defendant was personally present. With the written consent of defendant, his

counsel and the counsel for the United States, the undersigned proceeded to conduct the hearing.

       In consideration of that hearing and the statements made by the defendant under oath on

the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

of counsel for defendant,

       I FIND as follows:

       (1) that defendant is competent to plead guilty;

       (2) that the defendant understands that his answers may later be used against him in a

prosecution for perjury or false statement;

       (3) that defendant understands the nature of the charge against him to which the plea is

offered;
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      (4) that the defendant understands the charge and what the maximum possible sentence is,

including the effect of the supervised release term, and defendant understands that the sentencing

guidelines apply and that the Court may depart from those guidelines under some circumstances;

        (5) that the defendant understands his right to trial by jury, to persist in his plea of not

guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and

his right against compelled self-incrimination; to appeal his conviction, if convicted, and that the

defendant has knowingly and voluntarily waived those rights, and wishes to plead guilty.

        (6) that the plea of guilty by the defendant has been knowingly and voluntarily made and

is not the result of force or threats or of promises apart from the plea agreement between the

parties; and,

        (7) that there is a factual basis for the defendant’s plea.

        In light of those findings, I now recommend that; (1) the Court accept the defendant’s

plea of guilty (2) that the defendant be adjudged guilty of Count 2 of the Indictment, both in

violation of Title 21, U.S.C. §841(a)(1) and Title 18, U.S.C. §2 and have sentence imposed. A

Presentence Report has been ordered. Should this Report and Recommendation be accepted and

the Defendant adjudged guilty, sentencing has been scheduled for September 26, 2013 at 1:30

p.m. (EDT), before Judge Jon E. DeGuilio. Sentencing memorandum and any motions shall be

filed no later than September 19, 2013. Objections to the Findings and Recommendation are

waived unless filed and served within fourteen (14) days. 28 U.S.C. § 636(b)(1)(B).

        DATED: June 21, 2013
                                                        s/Christopher A. Nuechterlein
                                                        Christopher A. Nuechterlein
                                                        United States Magistrate Judge




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